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                           THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                    Greenbelt Division

 THE DISTRICT OF COLUMBIA and
 THE STATE OF MARYLAND,

                                       Plaintiffs,

           v.
                                                           Civil Action No. 8:17-cv-01596-PJM
 DONALD J. TRUMP, President of the United
 States of America, in his official and in his
 individual capacity,

                                       Defendants.

                           PROPOSED SCHEDULE OF DISCOVERY

          Pursuant to this Court’s Order dated November 2, 2018 (ECF No. 136), Plaintiffs submit

the following proposed Schedule of Discovery, consistent with the Schedule set out in the earlier

Joint Report made to the Court pursuant to Federal Rule of Civil Procedure 26(f) (ECF No. 132).

Plaintiffs have adjusted the proposed discovery deadlines to provide approximately six months

for fact discovery and two months for expert discovery, as contemplated by the parties’ Joint

Report.

I.        Discovery Plan

          A.     Initial Disclosures
          The parties agree that the disclosures required by Rule 26(a)(1)(A) need not be made

until five business days after the Court enters the Scheduling Order.

          B.     Fact Discovery
          Fact discovery will conclude 180 days after the Court enters a scheduling order, with all

discovery requests to be served at least 30 days in advance such that the responses are due on or

before the close of discovery.
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       C.      Expert Discovery
       Disclosures of expert witnesses will be due 190 days after the Court enters a scheduling

order. Expert discovery will conclude 240 days after the Court enters a scheduling order.
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Dated: November 21, 2018                 Respectfully submitted,


THE STATE OF MARYLAND                    THE DISTRICT OF COLUMBIA

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